June 78, 2020

Case 4:20-cv-00662-P Document 1 Fi (
INTHE UNITED STATES Dish Cero | Page tof 1s PagelD 1

FOR THE NORTHERN Cc CLES GF OiSTHicT COURT
E ERN DISTRICT OF TEXAS UERTHERH St oF iA
COMPLAINT OF VIOLATION OF CIVIL RIGHTS reste NaN SIO

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Plaintiff, Bogdana Osipova ( Mobley), dual citizen of Russia and United States of Amefigal igidpeshiestio{Ruegns, NY 11416 is
temporary detained at FSL Danbury, CT, 33 1/2 Pembroke Rd., Route 37, Danbury, CT 06811, while awaiting the finalization of
the her appeai. Mw

Piaintiff names Defendants as: FMC Carswell, Naval Air Station, J ST. BLDG 3000, PontiwoernthckK 76127 ; Dwain Robertson,
Charles Langham, nurses and its employees in official and individual capacity who was involved in this case.

Plaintiff proceeds pro se and in forma pauperis due to Plaintiff's financial inability to pay the fees.

Jurisdiction a Z20CV-662-p

Federal question. Venue is proper in this Court under 28 U.S.C. 1331 because the event giving rise to this complaint occurred
in this judicial district, and agency in question and its employees are located in this judicial district as well.

This case is for 42 U.S.C. 1983; Federal Tort Claim; Bivens Action, Diversity action; Violation of United Nations Convention
Against Torture and other Cruel, Inhuman or Degrading Treatment or Punishment.

Statement of facts: . Be.

On September 28, 2017 Plaintiff was arrested in Wichita, KS and later detained at Butler County Jail in El Dorado, KS.

Plaintiff was 37 years old, mentally healthy pre-trial detainee, without prior criminal or psychiatric history.

On December 18, 2017 Plaintiff as a pre-trial detainee was transferred via ground ambulance to FMC Carswell in Fort Worth,
TX in semi-coma state, severely dehydrated with NMS (neuroleptic malignant syndrome).

At the end of January 2018 Plaintiff was found incompetent to stand trial.

After 7.5 month staying at FMC Carswell, TX Plaintiffs competency to stand trial was restored in the beginning of July 2018.
Plaintiff suffered from memory loss and has no recollection of anything from about December 8, 2017 until late March-beginning
of April 2018.

Upon arrival at FMC Carswell in December 2017 Plaintiff had 2 inches below shoulder length hair, but was in semi-coma state,
thus unable to care for herself.

_ At the end of January 2018 Plaintiff's identity was involuntary altered (hair was cut to 1 inch of length due to alleged pediculosis)
without Plaintiff's consent, court's order or Piaintiff's attorneys knowledge.

When Plaintiff saw herself in the mirror for the first time around March 2018 with 4 inch long hair she went through shock, fear,
pain, confusion etc. She couldn't recagnize herself and was very traumatized.

After numerous unsuccessful attempts to obtain copy of Plaintiff's medical records from FMC Carswell, in October 2019 Plaintiff
filed standard form 95 ( claim for damage, injury or death) to U.S. Department of Justice, FBOP, South Central Regional Office
at 344 Marine Forces Drive, Grand Prairie, TX 75051 (copy enclosed).

On January 22, 2020 Plaintiff received response to her claim (administrative tort claim number TRT-SCR-2020-00509} stating ©
that : “claim has been considered for administrative settlement under Federal Tort Claims Act, Title 28, United States Code,
Section 2672 et seq., and authority granted by Title 28, Code of Federal Regulation, Section 0.172. Claim of Government
liability in the amount of seven million five hundred eighty thousand dollars and no/100 dollars ($7,580,000.00) for alleged
personal injury." Plaintiff claim was denied and she was advised in this fetter that she was afforded six months from the date of
the mailing of that communication within which to bring suit in the appropriate United’ States District Court (copy of this [Biter is
enclosed).

On February 11, 2020 Plaintiff sent a fetter to South Regional Office requesting copy of the investigation results (copy of the
letter enclosed).

On May 4, 2020 Plaintiff received a response to the February 11, 2020 letter that she should forward her request io 4 different
address (copy of the letter enclosed).

On May 8, 2020 Plaintiff mailed the request to FOIA/Privacy Act Section in Washington, DC and on May 20, 2020 recelved a
response stating that the request processing might take up to nine months (copy enclosed).

Originally Plaintiff was under the impression that her hair was cut at the end of December, 2017 shortly after her transfer to

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FMC Carswell from Kansas.
However, in the beginning of May 2020, Plaintiff received some of her medical records from the FSL Danbury Health Services
and upon review, discovered ihat she allegedly had lice infestation at FMC Carswell on 1/20/2018 and on 1/23/2018 her hair
was cut,
Not only the Plaintiff should not have been infected with the lice under these circumstances, but if it even occurred ( whith
Plaintiff doesn't know for a fact), there are shampoo treatments fo cure the pediculosis. Defendants purpasely acted with intent
to punish, humiliate and degrade Plaintiff.

Therefore Plaintiff is suing the Defendants for:

Count 4
Severe medical negligence to Plaintiff while in semi-coma state ( improper insufficient hygiene).

Count 2
Alleged lice infestation to Plaintiff while in care of FMC Carswell unable to care for herself.

Count 3
Uncontested unlawful unauthorized alteration of Plaintiff identity.

Plaintiff's right were violated.

Plaintiff had protection of Fifth Amendment through due process clause of Fourteenth Amendment of Constitution of the United
States of America.

Due process standard of Fifth amendment, since due process clause prohibits punishment prior to conviction.

Constitutional issue rests on determination of whether conditions of confinement are punitive in nature and whether detention
facility officials have acted with intent to punish inmates. Campbell v Canthron, 623 F. 2d 503 (8th Cir. 1980).

Due process clause of Fifth Amendment of Constitution of United States protects pre-trial detainees from punishment or jail
conditions which amount to punishment, and if restriction or condition is not reasonably related to legitimate goal of custodian to
maintain security in institution, court permissibly can infer that purpose of governmental action is punishment that may Rot
constitutionally be inflicted upon detainees qua detainees. Malone v.Colyer, 710 F.2d 258 (6th Cir. 1983)

Plaintiff seeks compensation for personal injury, pain and suffering of seven million five hundred eighty thousand dollars and
no/100 dollars ( $7,580,000.00), punitive damages that Court deem appropriate from Defendants.

Plaintiff seeks punitive damages which are awarded not to compensate the victims but to "punish outrageous behavior and
deter such outrageous and neglectful conduct in the future".

Respectfully submiited by,

. ; 28882-0314
: 2 FROP ep ike f° Bogdana Osipova Mobley
Bosbanr osrravA (Mobeey] 2RE92 -OFF 33 1/2 Pembroke RD
Route 37

Danbury, CT 06811
United States

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Case 4:20-cv-00662-P Document1 Filed 06/25/20 Page 3o0f13 PagelD 3

 

 

 

 

 

CLAIM FOR DAMAGE INSTRUCTIONS: Please read carefully the instructions on the FORM APPROVED
, reverse side and supply information requested on both sides of this OMB NO. 1105-0008
ING URY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for
additional instructions. ‘
1. Submit to Appropriate Federal Agency: 2. Name, address of claimant, and claimant's personat representative i any.

. ae —_ : s (See instructions on reverse}. Number, Street, City, State and Zip code.
oT CENTRAL REIL OFFICE ; “a tne , ~ sy
US ARMED FORCES RESERVE COMPLEX BaspnwA OSOUA (opey) A ZFE203/

EG ee 4 33 t/> PEVAROKE RD, ROME BP.
BYY MWARINE FORAES DR. Danuay. GF C551)
ERAUD PRARIE 7 PEOS/ CAM BURY, &
3. TYPE OF EMPLOYMENT 4. DATE OF BIRTH 5, MARITAL STATUS 6. OATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M.)
Fuurary él cwuan | 8-S° 7980 DILORGED hexepypee 78-30, BF? “4.

 

 

 

 

 

8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
the cause thereof, Use additional pages if necessary). _ . , . : - og et a en
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3. PROPERTY DAMAGE

 

NAME-AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).

MEME -

 

BRIEFLY OGSCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
{See instructions on reverse side}.

MOAE

 

10. PERSONAL INJURYAWRONGFUL DEATH

 

STATE THE NATURE AND EXTENT CF GACH INJGRY OR CAUSE OF DEATH, WHICH FORMS THE S45IS OF THE CLAIM, IF OTHER THAN CLAIMANT, STATE THE NAME
GF THE INJURED PERSON OR SECEDENT. , :

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11. WITNESSES:

 

NAME ADDRESS (Number, Street, City, State, and Zip Cade)

 

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FORT WOKE TH ;

 

 

12, (See instructions on reverse}. AMOUNT OF CLAEM (in dotars)

 

12a. PROPERTY DAMAGE 12b. PERSONAL INJURY 12c, WRONGFUL DEATH 12d, TOTAL {Failure to specty may cause
/ _ esi eptt . forfeiture of your rights). a “ff Cy
BF SBO 200 (SOE 1 ay, MOM E if FSH O0G CSAC) INH IAD
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ORLEE aa : eck Oe To
MV 30 bps trve Pitted ppt hg te hegestt ed, Cf ghity tite pee cz

 

 

 

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[CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED 8Y THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT iN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

 

 

 

 

 

13a. SIGNATURE OF CLAIMANT (See instructions on reverse side}, 13b. PHONE NUMBER OF PERSON SIGNING FORM | 14. DATE OF SIGNATURE
ey a \ B, 4 Q Pe e
Boe bain OS pou (Mobley) 8 Alelreys Mf Li Zo7P
CIVIL PENALTY FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant is liable to the United States Government for a civil penafty of nol less than Fine, imprisonment, ar both. (See 18 U.S.C, 287, 1001.)
$5,000 and not more than $10,000, plus 3 times the amourt of damages sustained
by the Government. (See 31 U.S.C. 3729).

 

 

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Previous Edition is not Usable eecrmen. BY DEPT. OF JUSTICE,
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SEE OVER >
Case 4:20-cv-00662-P Document1 Filed 06/25/20 Page 4of13 PagelD 4

Attachment for Standard Form 95 from 11-11-2019 for Bogdana (Mobley)

| was transferred form Butler County Jail, El Dorado, KS to FMC Carswell, Fort Worth, TX adn December 18th, 2019.

‘Thad 2.inch below shoulder length hair and no lice.

| was is coma state.

At the end of December 2017 nurses at FMC Carswell without my consent or court order, unlawfully altered my identity by
cutting my hair to 1 inch length.

This is cruel and unusual punishment of pre-trial detainee which is prohibited by law.

This act was done allegedly due to lice infestation. “

This means that | was also subject to insufficient improper hygiene care, and since | was incapable to do it myself due health
condition, it was nurses responsibility to properly care for me.

This is severe outrageous malpractice.

if “lice” was the case there are shampoo treatment that are available and is usually used for lice treatment.

Instead my identity was altered by cutting my hair.

{ was in complete state of shock, panic, fear, pain, humiliation and confusion upon seeing myself in the mirror with 1 inch lang
hair in March 2018.

| couldn't recognize myself.

| am still traumatized from this inhumane cruel treatment.

My hair is still short as it is growing very slowly.

| suffer everyday from this unlawful action of medical personal at FMC Carswell, TX.

if was found incompetent to stand trial in January 2018, and my competency was restored in July 2018.

Appropriate actions should be taken for remedy, compensation of claimant for physical, mental and emotional injury and
damages and punitive damages should be allocated to prevent this type of violations in future.

So if need be | claim the right for extension to file tort claim due to my incompetency for 7 months out of two year period to file a
tort claim.

Please take action on this violation of my rights and help prevent it in future to any other person.
So help me God!
Case 4:20-cv-00662-P Document1 Filed 06/25/20 Page5of13 PagelID5

U.S. Department of Justice

Federal Bureau of Prisons

 

South Central Regional Office

 

    
 

344 Marine Forces Drive
Grand Pratrie, Texas 75031

CERTIFIED MAIL: 7014 1820 0000 {511 3066
January 22, 2020

Bogdana Mobley, Reg. No. 28882-03 1
FCI Danbury

Route 37

Danbury, CT 06811

RE: Administrative Tort Claim Number - TRT-SCR-2020-00509

Ms. Mobley:

Your claim has been considered for administrative settlement under the Federal Tort Claims Act, Title 28,
United States Code, Section 2672 et seq., and authority granted by Title 28, Code of Federal Regulations,
Section 0.172. You claim government liability in the amount of seven million five hundred eighty
thousand dollars and no/100 dollars ($7.5 80,000.00) for alleged personal injury.

‘The Federal Tort Claims Act § 2672 delegates to each Federal agency the authority to consider,

determine, and settle any claim for money damages against the United States for loss of personal property
or injury caused by the negligent or wrongful act or omission of any employee of the agency while acting
within the scope of his office or employment.

You allege that in December 2017, while incarcerated that the Federal Medical Center ~ Carswell (FMC
Carswell), you had a lice infestation due to the negligence of FMC Carswell staff and your hair was cut
without your consent while you were in a coma.

Investigation of your claim failed to reveal any evidence to substantiate your allegations. There is no
evidence to indicate you sustained any injuries caused by the negligent or wrongful act or omission of any
government employee acting within the scope of employment. Therefore, your claim is denied.

You are advised that if you are dissatisfied with our determination in this matter, you are afforded six
months from the date of the mailing of this communication within which to bring suit in the appropriate

United States District Court.

Sincerely,

   

A. Sickler
Regional Counsel!

cc: M. Carr, Warden, FMC Carswell

SEE

SENSITIVE BUT UNCLASSIFIED DYER —>
Case 4:20-cv-00662-P Document1 Filed 06/25/20 Page6of13 PagelD 6

U.S. Department of Justice

Federal Bureau of Prisons

 

South Central Regional Office

 

US. Armed Forces Reserve Complex
344 Marine Forces Drive
Grand Prairie, Texas 7505!
MAY 04 2020

Bogdana Mobley

Register Number 28882-031

FC! Danbury

33 % Pembroke Road, Route 37
Danbury, CT 06811

RE: Correspondence
Dear Bogdana Mobley:

This is in response to your recently received correspondence wherein you request
copies of records that may be maintained by the Federal Bureau of Prisons.

In accordance with Title 28, Code of Federal Regulations, Section 16.3, please direct
your correspondence to:

Freedom of information Act/Privacy Act Section

Office of General Counsel, Room 924

Federal Bureau of Prisons

320 First Street, N.W.

Washington, D.C, 20534

Please ensure your correspondence and the envelope are clearly marked “FREEDOM
OF INFORMATION REQUEST.” Additional information is provided at Title 28, Code of
Federal Regulations, Section 513.50, et. seq.

 
  

Jason A. Sickler}\*
Regional Couns

JASAm

SENSITIVE BUT UNCLASSIFIED

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Case 4:20-cv-00662-P Document1 Filed 06/25/20 Page 7of13 PagelD 7

U.S. Department of Justice
Federal Bureau of Prisons

 

 
 

South Central Regional Office

U.S. Armed Forces Reserve Complex
344 Marine Forces Drive

Grand Prairie, TX 75057

May 20, 2020

Bogdana Mobley
Reg. No. 28882-031
FC] Danbury

Route 37

Danbury, CT 06811

Dear Bogdana Mobley:

The Federal Bureau of Prisons (BOP) received your Freedom of Information Act/Privacy
Act (FOIA/PA) request. Your request has been assigned a number and forwarded to the
processing office noted below. Please make a note of the request number and
processing office as you will need to include if in any correspondence or inquiry
regarding your request. A copy of the first page of your request is attached to help you
more easily keep track of your request.

FOIA/PA Request Number: 2020-04035
Processing Office: SCR

The time needed to complete our:processing of your request depends on the complexity
of our records search and the volume and complexity of any records located, Each
request is assigned to one of three tracks: simple, complex, or expedited. Due to the
large number of EQIAPA requests received by BOP and the limited resources available
to process such requests, BOP nandies each request on a first-in, first-out basis in
relation to other requests in the same track. Your request was assigned to the complex
track and placed in chronological order based on the date of receipt.

We determined unusual circumstances exist as the documents responsive to your
request must be searched for and collected from a field office, and/or the documents
responsive to your request are expected to be voluminous and will require significant
time to review, and/or your request requires consultation with at least one other agency
with a substantial interest in your request. Because of these unusual circumstances, We
are extending the time limit to respond to your request for the ten additional days
provided by the statute. Processing complex requests may take up to nine months.
Pursuant to 28 C.F.R. § 16.5(b) and (c), you may narrow OF modify your request in an
effort to reduce the processing time.

SEE
WR
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MOBLEY, Bogdana

Reg. No.: 28882-031
Page 2

Pursuant to 28 C.F.R. § 16.10, in certain circumstances we are required to charge fees
for time spent searching for or duplicating responsive documents. If we anticipate your
fees will be in excess of $25.00 or the amount you have indicated you are willing to pay,
we will notify you of the estimated amount. At that time, you will have the option to
reformulate your request to reduce the fees. If you requested a fee waiver, we will make
a decision whether to grant your request after we determine whether fees will be
assessed for this request.

lf you have any questions or wish to discuss reformulation or an alternative time frame
for the processing of your request, please feel free to contact the South Central Region
(SCR) or the Federal Bureau of Prisons’ (BOP) FOIA Public Liaison, Mr. C. Darnell
Stroble at 320 First Street NW, Suite 936, Washington DC 20534.

Additionally, you may contact the Office of Government Information Services (OGIS) at .
the National Archives and Records Administration to inquire about the FOIA mediation
services they offer. The contact information for OGIS is as follows: Office of
Government Information, Services, National Archives and Records Administration,
Room 2510, 8601 Adelphi Road, College Park, Maryland 20740-6001.

Please be advised that due to necessary operational changes as a result of the national
emergency concerning the novel coronavirus disease (COVID-19) outbreak, there may
be some delay in the processing of your request. .

BOR sn

SCR/sae
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To whom # magegrearpO-cv-00662-P Document1 Filed 06/25/20 Page9of13 PagelD 9

Administrative Tort Claim Number -TRT-SCR-2020-00509

| received a letter from you dated January 22, 2020 on February 7th, 2020.

Please mail to me a copy of the result of investigation of my claim that you conducted ( per your letter).
| need it for my records as well as for the future steps in regards with the law suit in US District Court.
Thank you in advance.

~Regards,

p.s. Also | requested all of my records from Carswell on numerous occasions but never gotten them.
Please forward all of my records to me as soon as you can ( medical, administrative, all of them).
/2020 03:47:59 PM
Case 4:20-cv-00062-P Document1 Filed 06/25/20 Page10o0f13 PagelD 10

To whom it may concern,

    

On February 11th, 2020 after receiving the letter that investigation was done, I've requested the results of the investigation of
igation o

Veet Claim TRT-SCR-2020-00509, that I've previously filed.
ay }'ve received the letter dated May 4th, 2020 that I need to forward
|! A, my request t
Please mail back fo me all of the records pertaining to me and the results of the investigation that was conducted in
response {

the above mentioned tort claim. As well as copies of my medical and administrative records

Thank you in advance.
Regards,

 
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RA GF DISTRICT OGURA |
HORTHERN Rip OF TX
to whom it MAY COANE eNstos 4-20CV-662=-p
(Afpepes pap: LG. WIS YiOLATION AVP
(uiL RIGHTS VW
Please File MY coy Peni FO

Motion FOR sp ooo pn TOLER eT MEY (1 PAGE). 5 08982-031

Bogdana Moe RD
: 1 33 4/2 Pembroke
Sy prokTave. bocuMenis C§ PAOLS) 33 1/2 Pe
THANK VOU.

Danbury, CT 0681 {
Linited States

Bosrana Osipoun (MOBLES) LBP hepisler 28832 O39
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